Case 20-06041-sms     Doc 16   Filed 07/20/20 Entered 07/20/20 14:07:45      Desc Main
                               Document     Page 1 of 2



                IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 IN RE:                                              Chapter 13

 ALEXANDER ELLIOTT KAHN and                          Case No. 19-67743-SMS
 KATHERINE ELIZABETH KAHN




 COLLETTE MCDONALD and           Adversary Proceeding
 COLLETTE MCDONALD & ASSOCIATES,
 LLC,                            Case No.: 20-06041-SMS

       PLAINTIFFS,

 v.

 ALEXANDER ELLIOTT KAHN,

       DEFENDANT.


                           CERTIFICATE OF SERVICE

      Pursuant to BLR 7026-3, I hereby certify that, on July 20, 2020 I electronically
served Plaintiffs’ First Interrogatories to Defendant and Plaintiffs’ First Requests for
Production of Documents to Defendant by email to counsel of record:
                             Michael J. Rethinger, Esq.
                      Law Offices of Michael R. Rethinger, LLC
                            michael@rethingerlaw.com

                                  Will B. Geer, Esq.
                                Wiggam & Geer, LLC
                               wgeer@wiggamgeer.com

      This 20th day of July, 2020.
Case 20-06041-sms   Doc 16   Filed 07/20/20 Entered 07/20/20 14:07:45     Desc Main
                             Document     Page 2 of 2



                                            /s/ Deborah Shelles Cameron
                                            Deborah Shelles Cameron
                                            Georgia Bar No. 105369




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